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                      UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION



 IMMERSION CORPORATION,

             Plaintiff,

       v.                                              Case No. 2:17-cv-00572-JRG
                                                       (LEAD CASE)
 SAMSUNG ELECTRONICS AMERICA, INC. and
 SAMSUNG ELECTRONICS CO., LTD.,                        Case No. 2:18-cv-00055-JRG

             Defendants.                           JURY TRIAL DEMANDED



               SAMSUNG’S RESPONSE IN OPPOSITION TO
             IMMERSION’S DAUBERT MOTION TO EXCLUDE
       TESTIMONY BY MR. W. CHRISTOPHER BAKEWELL (ECF NO. 112)




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I.     INTRODUCTION

       The opinions of Mr. W. Christopher Bakewell are based on sound methodology and

reliable evidence. Mr. Bakewell provides a well-explained rebuttal to the opinions of

Immersion’s damages expert, Dr. Patrick Kennedy. For example, he shows that

                                                                                        , and that

Samsung’s primary competitor                                              .

       Immersion’s motion (ECF No. 112, “Mtn.”) should be denied—it asks this Court to stray

from clear Federal Circuit guidance.1 First, Immersion takes issue with the fact that Mr.

Bakewell provides a basis for comparing the                                          to the

hypothetical negotiation by deriving an                        (reflecting the scope of the

agreements). Unlike Dr. Kennedy, who merely repeats the positions of his client (as discussed in

Samsung’s motion, ECF No. 110), Mr. Bakewell performs a careful analysis comparing the

                 to the hypothetical negotiation. This is precisely the type of “basis for

comparison” the Federal Circuit requires through Lucent Techs. and its progeny. Instead of

providing a similar analysis, Dr. Kennedy all-but ignores these agreements in favor of other,

inflated agreements (involving software). Second, Immersion asks this Court to disregard two

highly relevant settlement agreements because they arose from litigation (where liability was in

dispute). The Federal Circuit rejected such a bright line in Prism Techs., and explained in

ResQNet that settlement agreements can be the most reliable evidence of a reasonable royalty.

       Immersion’s motion improperly attempts to convert Daubert’s requirement that the trial

court determine whether an expert’s methodology is scientifically sound into a much broader



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  Immersion’s motion was also filed after the February 4, 2019 deadline (on February 5, 2019)
and should be denied for this independent reason. See ECF No. 102 (“No motion to strike expert
testimony (including a Daubert motion) may be filed after this date without leave of the Court.”).

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III.    APPLICABLE LEGAL PRINCIPLES

        Expert testimony is admissible under Rule 702 of the Federal Rules of Evidence if it

involves scientific, technical, or specialized knowledge that will assist the trier of fact to

understand the evidence or determine a fact in issue. Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 589-92 (1993). A proper assessment under Daubert requires the district court to

determine whether the “evidence is both relevant and reliable before it may be admitted.”

Valencia v. Singleton, 600 F.3d 389, 424 (5th Cir. 2010) (citing Daubert, 509 U.S. at 592-93).

        In deciding whether an expert’s analysis meets the reliability factor of a Daubert and

Rule 702 analysis, the district court is not to weigh the evidence relied upon or determine

whether it agrees with the conclusions reached therein. Determinations regarding the weight to

be accorded, and the sufficiency of, the evidence relied upon by the proffered expert, are within

the sole province of the jury. See, e.g., Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d

1283, 1296 (Fed. Cir. 2015) (“[T]he question of whether the expert is credible or the opinion is

correct is generally a question for the fact finder, not the court.”).

IV.     ARGUMENT

        Mr. Bakewell’s opinions are based on a sound, testable methodology, and reliable

evidence. Immersion’s motion focuses on the weight of evidence, and should be denied.

        A.      The                             Agreement

                1.      The                                          Is Relevant

        The                           Agreement is one of the most—if not the most—comparable

third party licenses to the hypothetical negotiation. As Mr. Bakewell explains, “Immersion’s

                        is particularly informative because                closest competitor of

Samsung” for smartphones. Ex. A, Bakewell Rept. ¶¶ 166, 262-263. Since the rate is relatively

low, Immersion now goes to great lengths to try to exclude it. However, this was not the


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 Immersion’s damages expert relies                                      to support his proposed

 royalty. See, e.g., Ex. B, Kennedy Rept. ¶ 335. And given that

                   , Immersion’s observation that Mr. Bakewell “did no analysis of whether the

 [other] patents are technologically comparable to the patents-in-suit” (Mtn. at 6),

 notwithstanding Mr. Bakewell’s apportionment to the patents-in-suit, is confounding.

        Moreover, perfect identity is not required to show comparability. See Finjan, Inc. v.

 Secure Computing Corp., 626 F.3d 1197, 1212 (Fed. Cir. 2010) (“In setting damages, the jury’s

 function is to weigh contradictory evidence, to judge the credibility of the witnesses, and to

 resolve factual disputes.”). While licenses that are radically different from the hypothetical one,

 or lacking explanation, can be excluded, differences do not preclude admissibility. E.g., Saffran

 v. Johnson & Johnson, 2:07-CV-451, 2011 WL 1299607, at *10-11 (E.D. Tex. Mar. 31, 2011)

 (affirming verdict where expert discussed “similarities, and differences,” between hypothetical

 and comparable licenses). The jury is “fully capable of evaluating the differences and

 similarities and deciding the weight to give” an agreement. Visteon Glob. Techs., Inc. v. Garmin

 Int’l, Inc., No. 10-CV-10578, 2016 WL 4727476, at *11 (E.D. Mich. Sept. 12, 2016).

        The fact             “contested that its products infringed the patents at issue in the

 litigation” (Mtn. at 8) does not support disregarding                       . Sometimes the most

 reliable licenses arise out of litigation (where liability is often disputed). ResQNet.com, Inc. v.

 Lansa, Inc., 594 F.3d 860, 872 (Fed. Cir. 2010) (“[T]he most reliable license in this record arose

 out of litigation.”). The Federal Circuit acknowledges an “inherent connection between patent

 licenses and at least the potential for litigation”—a non-exclusive “license to practice a patent is

 in substance nothing but a covenant not to sue: what such a license is, at its core, is an

 elimination of the potential for litigation.” Prism Techs., 849 F.3d at 1370. Here,




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 agreement is among the most reliable licenses in the record. Ex. A, Bakewell Rept. ¶ 166.

        Immersion has identified no significant risk of a finding of noninfringement

      justifying exclusion of the license or even downward adjustment—indeed,

                      could have the impact of driving up a royalty, equalizing the contested

 infringement. Cf. Prism Techs., 849 F.3d at 1369 (“[V]arious factors may work in the opposite

 direction, tending to make a settlement of an earlier suit too high as evidence on the valuation

 question presented in a later suit.”). In addition, Immersion claims that there are no

 noninfringing alternatives to the patents-in-suit. See Ex. B, Kennedy Rept. ¶ 259 (“However, it

 is my understanding from Immersion’s technical experts that there are no commercially

 acceptable non-infringing alternatives to the technology-at-issue”).

        Remarkably, Immersion tries to claim                                should be excluded

 under Daubert, even though its own expert, Dr. Kennedy also relies on settlement agreements

                  with contested infringement. See Ex. B, Kennedy Rept. ¶ 240 (relying on the

                                 ); Ex. E,



                              . In fact, a significant portion of Immersion’s revenue has been

 derived from such licenses that arise after litigation. See, e.g., Ex. F, Erba Dep. at 44:9-19.

        Immersion’s arguments regarding upward adjustments that it would prefer (see Mtn. at 7-

 9) ignore the numerous downward adjustments that Mr. Bakewell conservatively did not apply.

 For example, Mr. Bakewell explains how downward adjustments are warranted

                under the hypothetical negotiation that is limited to the six patents-in-suit (Ex. A,

 Bakewell Rept. ¶ 268), and the extent to which the agreement may be a function of

                         (id. ¶ 269). Rather than applying these downward adjustments, Mr.




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 Bakewell merely performed a conservative allocation to the patents-in-suit. Id. ¶ 270. In any

 event, Immersion’s arguments regarding what adjustments it thinks are warranted are within the

 province of the jury—“to weigh contradictory evidence, to judge the credibility of the witnesses,

 and to resolve factual disputes.” Finjan, 626 F.3d at 1212. Further, Mr. Bakewell provides a

 thorough discussion of the impact of disputed infringement and resulting uncertainty and

 addresses how it impacts his opinion, noting that licensors are “reasonably hesitant to make

 public offers, let alone enter into agreements that would provide what they perceive to be an

 artificially low benchmark.” Ex. A, Bakewell Rept. ¶ 440; see also id. ¶¶ 437-439. Contested

 infringement does not support exclusion of Mr. Bakewell’s opinions                               .

                2.      Mr. Bakewell’s Analysis of the                             Agreement Is
                        Based on a Reliable Methodology

        Mr. Bakewell’s analysis of the                                      is based on a sound

 and reliable methodology. Mr. Bakewell reasonably

                                                                                         .

        The Federal Circuit has long recognized that



                     . As the court in Lucent Techs., Inc. v. Gateway, Inc. explained, “some basis

 for comparison must exist in the evidence presented to the jury.” 580 F.3d 1301, 1330 (Fed. Cir.

 2009); see also Mtn. at 14 (citing Lucent Techs.). Likewise, the Federal Circuit in Whitserve,

 LLC v. Computer Packages, Inc., acknowledged that for

                     , there must be “testimony explaining how they apply to the facts of the

 case.” 694 F.3d 10, 30 (Fed. Cir. 2012); see also Mtn. at 1, 5 (citing Whiteserve).

        Mr. Bakewell offers helpful testimony that provides a basis for comparison, explaining

 how                             agreement applies to the facts of the case. Specifically, to “



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 As Mr. Bakewell explains, Samsung requested indemnity from Immersion when TFT sued it for

 use of Immersion’s haptic software in 2015 (before Samsung moved away from Immersion’s

 software). Id. ¶ 279. Although

                                                                                       . Ex. F, Erba

 Dep. at 263:1-264:24; cf. Mtn. at 12. Mr. Bakewell does not rely on just these facts—he cites

 detailed analysis from Dr. Wolfe and Dr. Bederson. Immersion did not move to strike the

 technical comparability analysis of the               in these experts’ reports. See Ex. I, Wolfe

 Rebuttal Rept. ¶¶ 39-43; Ex. J, Bederson Rebuttal Rept. ¶¶ 213-216. “It is routine and proper for

 a damages expert in a technical patent case to rely on a technical expert for background.”

 DataQuill Ltd. v. High Tech Computer Corp., 887 F. Supp. 2d 999, 1026 (S.D. Cal. 2011).

        Second, Mr. Bakewell provides detailed analysis of economic comparability. For one,

 the                 was “entered into around the same time as the hypothetical negotiation,” and

 given that the hypothetical negotiation would focus on the six patents-in-suit, the agreement

                                              is economically comparable. Ex. A, Bakewell Rept.

 ¶¶ 278, 284. Moreover, Mr. Bakewell addresses the impact of litigation, but notes a lack of “any

 actual information that the agreement was a function of the avoided costs of litigation, as

 opposed to the value of patent rights,” and explains that



                                                                                               Id. ¶¶

 283-285; see also Prism Techs., 849 F.3d at 1370 (cost of litigation does not automatically

 impact a settlement rate). Immersion’s assertion that Mr. Bakewell made “no adjustments based

 on the stage of litigation” (Mtn. at 10) ignores his explanation of the impact of the case

 proceeding through a Markman hearing, which represents a “big milestone when . . . assessing a




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           The                and resulting agreement are relevant for another important reason—

                                                represents a key milestone in the two parties’

 relationship. When

                                 , the parties’ relationship began to deteriorate. E.g., Ex. L, Hong

 Dep. at 107:14-108:5, 128:22-129:3. Ultimately, Samsung elected not to include Immersion’s

 software in its products going forward, and did not renew its license with Immersion. Regardless

 of the                   and its rate, this relevant history should not be excluded from the trial.6

           C.     In Any Event, There Is No Basis to Exclude Mr. Bakewell’s Ultimate Royalty
                  Rate Opinion

           Immersion’s effort to exclude Mr. Bakewell’s “ultimate royalty rate opinions” should be

 flatly rejected. Mr. Bakewell’s opinion is supported by numerous sources of evidence, including

 but not                        and       agreements. He carefully explains why Immersion’s

 demand for



           Ultimately, “[b]ased upon the totality of the information presented throughout this

 report,” Mr. Bakewell opines that a baseline royalty for the patents-in-suit falls in the range of

                          . Ex. A, Bakewell Rept. ¶¶ 354-356 (emphasis added). Supporting this

 range are




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  Immersion also exaggerates the comparability requirement (discussed above). Mtn. at 10-13.
 The “degree of comparability . . . as well as any failure on the part of [the expert] to control for
 certain variables are factual issues best addressed by cross examination and not by exclusion.”
 Active Video Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir. 2012).

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              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        The undersigned hereby certifies that this document is filed under seal pursuant to the

 Protective Order (ECF No. 32) filed in this matter.

                                                            /s/ Daniel A. Tishman
                                                             Daniel A. Tishman


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on February 19, 2019.

                                                            /s/ Daniel A. Tishman
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